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       UNITED STATES DISTRICT COURT MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

                             CASE NO. 8:22-cv-00581-WFJ-AEP

  HOLLY J. FRAZETTA,                  HEIDI L.
  FRAZETTA,      AND                  FRAZETTA
  PROPERTIES, LLC,

         Plaintiffs,

  v.

  VANGUARD PRODUCTIONS,                     LLC,    AND
  JESSE DAVID SPURLOCK,

         Defendants.
                                                          /

       AFFIDAVIT OF JOSEPH WEBER IN OPPOSITION TO AFFIDAVIT OF
                        DEFENDANT SPURLOCK

         Joseph Weber, in his capacity as the corporate designee of Frazetta Properties,

  LLC and in his capacity as providing his expertise as consultant to the Plaintiffs.

         I, JOSEPH WEBER, being duly sworn, hereby depose and say:

         1.      To my knowledge, all of the facts stated in this affidavit are true and

  correct.

         2.      I am competent to make this affidavit and I have personal knowledge of

  the facts stated in it, including case law referenced in it.

         3.      Unless otherwise herein all references to Mr. Frazetta made by Affiant

  are to Mr. Frazetta, Sr. and not to Mr. Frazetta, Jr.

         4.      In paragraph 4 of Mr. Spurlock’s Affidavit and throughout it, Mr.

  Spurlock claims the images reproduced are historical artifacts, but they are not
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  historical artifacts for reasons identical to that used in the Graham v. Prince No. 15-

  CV-10160 (SHS), 2023 U.S. Dist. LEXIS 83267, at *65-66 (S.D.N.Y. May 11, 2023).

                    “However, defendants fail to recognize a key distinguishing fact. In Bill
             Graham, the plaintiff was challenging the defendant's inclusion of its
             copyrighted posters in the book. The dispute was not centered on the posters
             themselves, but rather the defendant's use of the posters in the
             commemorative book.

                     Here, by contrast, Portrait of Rastajay92 and Portrait of Kim Gordon are
             the subject of [*66] the copyright infringement claim and do not constitute
             fair use as a matter of law. Thus, the ancillary works that include Prince's
             portraits in their entirety cannot pass as fair use, regardless of the
             transformative, historical purpose that defendants urge.”

                  Graham v. Prince, No. 15-CV-10160 (SHS), 2023 U.S. Dist. LEXIS 83267,
                  at *65-66 (S.D.N.Y. May 11, 2023). 1

             5.       Also in Paragraph 4, Mr. Spurlock intentionally dissembles in his

  affidavit, writing “a book cover, in the Book is distinctly different from the image

  entitled Death Dealer V, sold as poster art by Frazetta Girls, LLC,” because Mr.

  Spurlock knows the images identified in the Complaint are of Copyright Act

  protected paintings.

             6.       On a Wikipedia page describing Mr. Spurlock, Mr. Spurlock created

  and edited it several times, Mr. Spurlock is described as follows.

             Jess David Spurlock (born November 18, 1959) is an author, illustrator,
             editor, and artist's-rights advocate (emphasis added) best known as the
             founder of Vanguard Productions, a publisher of art books, graphic novels,
             and prints.
             Citation to Wikipedia.
             https://en.wikipedia.org/wiki/J._David_Spurlock#:~:text=Jess%20David%2
             0Spurlock%20(born%20November%2018%2C%201959)%20is%20an%20auth
             or%2C%20illustrator%2C%20editor%2C%20and%20artist%27s%2Drights%2
             0advocate%20best%20known%20as%20the%20founder%20of%20Vanguard%


  1
      I have read all cases cited and understand the portions referenced.

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         20Productions%2C%20a%20publisher%20of%20art%20books%2C%20graphi
         c%20novels%2C%20and%20prints.

         7.     Mr. Spurlock’s edits to the page can be found by visiting the page and

  the edits he made using his username, vanguardpub (he uses that within his email

  address, vanguardpub@XXXXXXX.XXX.                See Exhibit 1, list of edits made by

  Vanguardpub tracked by and taken from Wikipedia.

         8.     In paragraph 6, Mr. Spurlock states “the following timeline of events

  illustrates my long friendship and working relationship with Frank Frazetta,” Mr.

  Spurlock fails to identify which of the non-parties, Frank Frazetta, Jr., with whom he

  has recently collaborated with to publish books or the late Frank Frazetta, Sr., which

  is relevant to this matter.

         9.     Mr. Frazetta, Sr. filed suit against Mr. Spurlock in United States District

  Court for the Southern District of New York, Case No. 08-CV-6670.

         10.    The     lawsuit   settled   with     payment     of    $80,000.00     from

  Spurlock/Vanguard to Mr. Frazetta, Senior. See Exhibit 2, page 1, paragraph 1,

  Settlement Agreement.

         11.    The parties also entered into Frazetta 2-Book Publishing Agreement.

  See 2 Book Publishing Agreement attached as Exhibit 3.

         12.    Defendants were not given a contractual right to publish anything they

  wanted since the Frazetta Endorsement & Trademark License Agreement provided

  as follows.

                4. A. One (1) book entitled “The Definitive Frazetta Reference" by
                James Bond and David Winiewicz, Ph.D. (emphasis added) (which

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               has been previously published by Licensee). No royalties or sales reports
               are due Licensor or the artist Frank Frazetta on this title. Licensee has
               the right to update, revise text, replace images, re-design and publish
               this FRAZETTA Book as Licensee sees fit. (emphasis added) Artist
               Frank Frazetta agrees, health permitting, to autograph the FRAZETTA
               Books for Licensee at a flat-fee rate of $100.00 per signature if Licensee
               requests such autographing. An address for Licensor's website will be
               listed, as designated by Licensor, in the FRAZETTA Books.

               See Exhibit 4, paragraph 4A, page 2, Frazetta Endorsement and
               Licensing Agreement.

        13.    Defendants were not given the right to create a series of books, but only

  to publish one book and it was to have included the title The Definitive Frazetta

  Reference" by James Bond and David Winiewicz, Ph.D. and Licensee has the right

  to update, revise text, replace images, re-design and publish this FRAZETTA

  Book as Licensee sees fit.

        14.     The Defendants were not given the right to change the title and create

  an entirely new and different book, but Defendants created an entirely new book.

        15.    Paragraphs 6 through 27 are filled with errors, intentional or otherwise,

  have no supporting documentation, and, most importantly are irrelevant to for the

  Defendants’ Motion for Summary Judgment and the case before the Court.

        16.    Paragraphs 28 through 40 are equally error filled, lack support and are

  irrelevant to the Defendants’ Motion for Summary Judgment and this case.

        17.    Paragraph 41 states a legal conclusion that Mr. Spurlock’s opinion is

  irrelevant, as he offered no proof that he has been recognized as an expert witness on

  the Copyright Act.


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        18.    In paragraph 42, Defendant’s statement that “On newly authored

  books, the copyright tended to be on the text and went to the author with no

  mention/inclusion of cover art.” This is unsupported by any documentation and Mr.

  Spurlock’s opinion is irrelevant.

        19.    Paragraph 43 stated that “Most of the book publishers either simply

  acknowledged existing copyrights on the licensed text in the nearly printed book or,

  if new registrations were filed, they tended to cite the already registered licensed

  story text and only claimed new coverage on forwards, additions, and/or

  edits/changes against with no art mention/inclusion listed in registration materials

  and/or no required copyright notice published on the product specific to the cover

  art.” This lacks any support and amounts to an opinion and would not be admissible

  in court.

        20.    The two paperback books for Death Dealer, Plague of Knives and

  Prisoner of the Horned Helmet, show inside that the book cover art as owned by

  Frank Frazetta. See Exhibit 5.

        21.    Paragraphs 44 and 45 are irrelevant to the case.

        22.    Paragraph 46 is false opinion and is contradicted by the registrations

  previously provided to by the Plaintiffs.

        23.    Paragraph 47 is an opinion and not fact that would be admissible in

  court, lacks support, and is irrelevant to the case. Moreover, the ownership of the

  Copyrights has been established in documents attached to prior Plaintiffs’ filings.



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          24.   Paragraphs 48 and 49 are incorrect opinions and, even if true, the works

  be derivative created by Mr. Frazetta that also would be protected by the Copyright

  Act.

          25.   Paragraph 50 is contracted by the Sarasota County Circuit Court case in

  whic Defendants sued Frazetta Properties claiming the agreements had been

  terminated.

          26.   Paragraph 51 is false and irrelevant, Mr. Spurlock states that “Ellie

  Frazetta, the artist’s wife and business manager, personally supervised Vanguard’s

  original Frazetta Definitive Reference to meet and satisfy her definition of legal “fair

  use” pertaining to a reference book.” This is false and the Courts do not recognize

  Ellie Frazetta’s definition of legal “fair use” or that of any other individual, including

  Mr. Spurlock.

          27.   Paragraph 52 is false.     As stated above in Paragraph 12 and 13,

  Defendants were given the right to update one book only.

          28.   Paragraph 53 lacks support of any kind and is irrelevant.

          29.   Paragraphs 54 to 62 lacks support of any kind and is irrelevant to this

  case.

          30.   Paragraphs 63 and 64 are irrelevant as any library can acquire any book

  or receive a donation by the author of any book and add it to its collection.




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